8:12-cr-00107-LSC-TDT        Doc # 102     Filed: 02/01/13     Page 1 of 2 - Page ID # 267



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )                 8:12CR107
                    Plaintiff,                 )
                                               )
     vs.                                       )                  ORDER
                                               )
TAMMY L. SCHUCK,                               )
TABATHA N. ASHBURN, and                        )
CHRISTOPHER J. TIERNEY,                        )
                                               )
                    Defendants.                )
___________________________________
UNITED STATES OF AMERICA,                      )
                                               )                 8:12CR108
                    Plaintiff,                 )
                                               )
     vs.                                       )                  ORDER
                                               )
WILLIAM R. KNOX,                               )
                                               )
                    Defendant.                 )


     This matter is before the court on the motion of the Federal Public Defender David R.
Stickman and the Office of the Federal Public Defender to withdraw as counsel for the
defendant, Tammy L. Schuck (Schuck) (Filing No. 89). Mr. Stickman represents that the
Office of the Federal Public Defender has a conflict of interest in this matter. The court held
a hearing on the motion on January 31, 2013. Schuck was present along with Mr. Stickman.
The United States was represented by Assistant U.S. Attorneys John E. Higgins and Donald
J. Kleine. Following representations from Mr. Stickman and Mr. Higgins, Mr. Stickman’s and
the Office of the Federal Public Defender’s motion to withdraw (Filing No. 89) is granted.
     Mark W. Bubak, 1216 North 101st Circle, Omaha, NE 68114, (402) 934-9250, is
appointed to represent Schuck for the balance of these proceedings pursuant to the
Criminal Justice Act. Mr. Stickman shall forthwith provide Mr. Bubak with the discovery
materials provided the defendant by the government and such other materials obtained by
Mr. Stickman which are material to Schuck’s defense.
8:12-cr-00107-LSC-TDT      Doc # 102     Filed: 02/01/13    Page 2 of 2 - Page ID # 268



     The clerk shall provide a copy of this order to Mr. Bubak, and he shall file his
appearance forthwith.
     The court will hold a Rule 17.1 conference with all counsel in this case and the case
of United States v. William R. Knox, 8:12CR108, at 11:00 a.m. on February 7, 2013, in
Courtroom No. 7, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska. Defendants need not attend for such conference.


     IT IS SO ORDERED.
     DATED this 1st day of February, 2013.


                                                BY THE COURT:

                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge




                                            2
